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Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  )           Chapter 11
                                                        )
REPUBLIC METALS REFINING                                )           Case No. 18-13359 (SHL)
CORPORATION, et al.,1                                   )
                                                        )           (Jointly Administered)
                              Debtors.                  )
                                                        )

         NOTICE OF AMENDED DEADLINES SET FORTH IN ORDER APPROVING
         UNIFORM PROCEDURES FOR RESOLUTION OF OWNERSHIP DISPUTES

          Republic Metals Refining Corporation, et al., (collectively, the “Debtors”), in the above-

captioned chapter 11 cases, by and through undersigned counsel, gives notice that pursuant to an

agreement amongst parties and statements made in Court at a February 27, 2019, status

conference the following deadlines set forth in the Order Approving Uniform Procedures for

Resolution of Ownership Disputes (“Uniform Procedures Order”) have been amended:

          Paragraph 2(g) of the Uniform Procedures Order is amended. The Customers may amend

or supplement their Customer Statements in response to any Debtors’ Responses and Senior



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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW
38th Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).


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Lenders’ Responses no later than March 11, 2019.

         Paragraph 3(a) of the Uniform Procedures Order is amended. The Customers, Debtors

and Senior Lenders shall produce the following documents in their possession, custody, or

control as soon as possible and no later than March 11, 2019.

         Paragraph 3(c) of the Uniform Procedures Order is amended. Pursuant to Federal Rules

of Bankruptcy Procedure 7026 and 9014, each of the parties shall provide and file on the record

their initial disclosures as required by Federal Rule of Civil Procedure 26(a)(1) no later than

March 11, 2019.

Dated: February 27, 2019                           AKERMAN LLP

                                                   By:   /s/John E. Mitchell
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